                        UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN


In The Matter of:                                                          Chapter 13
                                                                           16-43021-PJS
Warren J Williams                                                          Judge Shefferly
Debtor(s)
_________________________/

    MOTION FOR RELIEF FROM AUTOMATIC STAY & TO WAIVE THE
 PROVISIONS OF F.R.B.P.4001(a)(3) AS TO SPECIALIZED LOAN SERVICING
  LLC AS SERVICER FOR THE BANK OF NEW YORK MELLON, F/K/A THE
 BANK OF NEW YORK, SUCCESSOR IN INTEREST TO JPMORGAN CHASE
     BANK, N.A. AS TRUSTEE FOR STRUCTURED ASSET MORTGAGE
 INVESTMENTS II INC., BEAR STEARNS ALT-A TRUST, MORTGAGE PASS-
               THROUGH CERTIFICATES, SERIES 2005-7

       Now comes SPECIALIZED LOAN SERVICING LLC AS SERVICER FOR

THE BANK OF NEW YORK MELLON, F/K/A THE BANK OF NEW YORK,

SUCCESSOR IN INTEREST TO JPMORGAN CHASE BANK, N.A. AS TRUSTEE

FOR STRUCTURED ASSET MORTGAGE INVESTMENTS II INC., BEAR

STEARNS ALT-A TRUST, MORTGAGE PASS-THROUGH CERTIFICATES,

SERIES 2005-7, Movant, through its authorized attorney, and respectfully represents to

the Court as follows:

       1.      That Movant is the holder of a mortgage on the property known as 11000

Warner RD, Concord, MI 49237;

       2.      That the Debtor filed the instant case on March 2, 2016;

       3.      That pursuant to 11 U.S.C. Section 362(d)(1), upon the request of a party

in interest, the court shall grant relief from stay for cause, including lack of adequate

protection of such party in interest;




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       4.      That the Debtor has failed to maintain payments pursuant to the terms of

the confirmed Chapter 13 Plan; that Debtor is due for the July 1, 2017, mortgage

installment to be paid directly to Movant, and all subsequent mortgage installments;

       5.      That as a result of the default in payments a material default has occurred,

which is prejudicial to Movant’s rights;

       6.      That the total indebtedness to Movant, including accrued interest, escrow

and attorneys fees is $179,067.32;

       7.      That the fair market value of the property is estimated to be $140,000.00,

as indicated by the Debtor’s Schedule D; that CitiMortgage, Inc., holds a lien in the

amount of $39,600.00 on the subject property; that upon review of this matter, to the best

of the Movant’s knowledge and belief, there are no other lien holders with respect to the

subject property;

       8.      Pursuant to the Default indicated in Paragraph 3, Movant is entitled to the

relief sought pursuant to Sections 361 and 362 11U.S.C. – Bankruptcy;

       9.      SCHNEIDERMAN & SHERMAN, P.C., contacted Debtor’s counsel via

e-mail to attempt to obtain concurrence to this Motion for Relief From Automatic Stay on

September 20, 2017. Concurrence was not given.

       Wherefore, Movant requests that it be granted immediate relief from the

Automatic Stay as regards the aforementioned property; that Movant be permitted to

enforce its contractual rights pursuant to state law; that F.R.B.P.4001(a)(3), which

provides that the Automatic Stay shall remain in effect for a period of fourteen days from

date of an Order Granting a Motion for Relief from Stay, be waived.




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                                SCHNEIDERMAN & SHERMAN, P.C.

Date: 10/13/17
                                     By: /s/ Michael P. Hogan
                                     Michael P. Hogan P63074
                                     mhogan@sspclegal.com
                                     Attorney for
                                     Specialized Loan Servicing LLC as servicer for
                                     The Bank of New York Mellon, f/k/a The Bank
                                     of New York, Successor in Interest to
                                     JPMorgan Chase Bank, N.A. as Trustee for
                                     Structured Asset Mortgage Investments II INC.,
                                     Bear Stearns ALT-A Trust, Mortgage Pass-
                                     Through Certificates, Series 2005-7
                                     23938 Research Drive, Suite 300
                                     Farmington Hills, Michigan 48335
                                     248-539-7400




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                      UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF MICHIGAN

In The Matter of:                                                       Chapter 13
                                                                        16-43021-PJS
Warren J Williams                                                       Judge Shefferly
Debtor(s)
_________________________/

  ORDER GRANTING RELIEF FROM AUTOMATIC STAY & WAIVING THE
 PROVISIONS OF F.R.B.P.4001(a)(3) AS TO SPECIALIZED LOAN SERVICING
  LLC AS SERVICER FOR THE BANK OF NEW YORK MELLON, F/K/A THE
 BANK OF NEW YORK, SUCCESSOR IN INTEREST TO JPMORGAN CHASE
     BANK, N.A. AS TRUSTEE FOR STRUCTURED ASSET MORTGAGE
 INVESTMENTS II INC., BEAR STEARNS ALT-A TRUST, MORTGAGE PASS-
               THROUGH CERTIFICATES, SERIES 2005-7

         This matter having come before this Court on the Motion of SPECIALIZED
LOAN SERVICING LLC AS SERVICER FOR THE BANK OF NEW YORK
MELLON, F/K/A THE BANK OF NEW YORK, SUCCESSOR IN INTEREST TO
JPMORGAN CHASE BANK, N.A. AS TRUSTEE FOR STRUCTURED ASSET
MORTGAGE INVESTMENTS II INC., BEAR STEARNS ALT-A TRUST,
MORTGAGE PASS-THROUGH CERTIFICATES, SERIES 2005-7 (“Creditor”), by and
through its attorneys, Schneiderman & Sherman, P.C., for relief from the Automatic Stay;
all parties to said Motion having been served with a copy of Creditor’s Motion and
proposed Order:

        IT IS HEREBY ORDERED that the Automatic Stay is terminated to allow
Creditor, its successors or assigns to foreclose on the property known as 11000 Warner
RD, Concord, MI 49237, for the reasons set forth in Creditor’s Motion; that Creditor is
permitted to dispose of the property in accordance with the terms of its note and security
agreement and in accordance with federal and state law; that F.R.B.P.4001(a)(3) is
waived, that this Order shall be served on the Chapter 13 Trustee and all others with an
interest in the subject property. This order shall be binding and effective despite any
conversion of this bankruptcy case to a case under any other chapter of Title 11 of the
United States Bankruptcy Code;




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                               EASTERN DISTRICT OF MICHIGAN

In The Matter of:                                                              Chapter 13
                                                                               16-43021-PJS
Warren J Williams                                                              Judge Shefferly

STATE OF MICHIGAN
COUNTY OF OAKLAND

                                         PROOF OF SERVICE

        I hereby certify that on the 13th day of October, 2017, I electronically filed the foregoing Motion
for Relief from Stay, Notice of Motion, and Proposed Order with the Clerk of the Court using the ECF
system which will send notification of such filing to the following:

Krispen S. Carroll                                 Michelle Marrs
719 Griswold                                       6553 Jackson Rd.
1100 Dime Building                                 Ann Arbor, MI 48103
Detroit, MI 48226

And I hereby certify that I have mailed by United States Postal Service the Motion for Relief from Stay,
Notice of Motion, and Proposed Order to the following non-ECF participants:

JACKSON COUNTY TREASURER                           Warren J Williams and
120 W. Michigan Ave.                               Kim McNew
Jackson, MI 49201                                  11000 Warner RD
                                                   Concord, MI 49237

Paul Randel
United States Trustee
211 West Fort Street Suite 700
Detroit, MI 48226

Execution on: 10/13/17
                                            By: /s/ Michael P. Hogan
                                            Michael P. Hogan P63074
                                            mhogan@sspclegal.com
                                            Attorney for
                                            Specialized Loan Servicing LLC as servicer for The
                                            Bank of New York Mellon, f/k/a The Bank of New
                                            York, Successor in Interest to JPMorgan Chase
                                            Bank, N.A. as Trustee for Structured Asset
                                            Mortgage Investments II INC., Bear Stearns ALT-A
                                            Trust, Mortgage Pass-Through Certificates, Series
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